Case 2:23-cv-00576-JRG-RSP Document 26 Filed 01/29/24 Page 1 of 22 PageID #: 461




                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

  WARNER RECORDS, INC., et al.,

                 Plaintiffs,                 Case No. 2:23-cv-00576-JRG-RSP

         v.                                  JURY TRIAL DEMANDED

  ALTICE USA, INC., et al.,                  ORAL ARGUMENT REQUESTED

                 Defendants.



                     DEFENDANTS’ MOTION TO TRANSFER VENUE
                      TO THE EASTERN DISTRICT OF NEW YORK
                           PURSUANT TO 28 U.S.C. § 1404(a)
Case 2:23-cv-00576-JRG-RSP Document 26 Filed 01/29/24 Page 2 of 22 PageID #: 462




                                                       TABLE OF CONTENTS

  Table of Authorities ....................................................................................................................... iii

  I.         Introduction ......................................................................................................................... 1

  II.        Background Facts................................................................................................................ 3

             A.         Altice and the Location of Its Documents and Witnesses ...................................... 3

             B.         Plaintiffs and the Location of Their Documents and Witnesses ............................. 5

             C.         The Locations of Third-Party Witnesses ................................................................ 6

  III.       Legal Standard .................................................................................................................... 6

  IV.        Argument ............................................................................................................................ 7

             A.         This Case Could Have Been Brought in the EDNY. .............................................. 7

             B.         Both the Private and Public Interest Factors Heavily Favor Transfer to the
                        EDNY. .................................................................................................................... 7

                        1.         The relative ease of access to sources of proof weighs in favor of
                                   transferring this case because the bulk of evidence will come from
                                   the EDNY with none in the EDTX. ............................................................ 7

                        2.         The availability of compulsory process weighs in favor of
                                   transferring this case because the EDNY has subpoena power over
                                   non-party witnesses that the EDTX does not. ............................................. 9

                        3.         The cost of attendance for willing witnesses weighs in favor of
                                   transferring this case because the bulk of witnesses are in the
                                   EDNY and more than 100 miles from the EDTX..................................... 11

                        4.         The lack of practical problems weighs in favor of transferring this
                                   case because this case just started. ............................................................ 12

                        5.         The administrative difficulties from court congestion factor is
                                   neutral because of the docket efficiency in the EDNY and EDTX. ......... 12

                        6.         The local interest in having localized interests decided at home
                                   weighs in favor of transferring this case because the place of the
                                   alleged wrong is in the EDNY, not the EDTX. ........................................ 13

                        7.         The familiarity of the forum factor is neutral because both the
                                   EDNY and EDTX are equally capable of resolving this suit. .................. 15




                                                                        –i–
Case 2:23-cv-00576-JRG-RSP Document 26 Filed 01/29/24 Page 3 of 22 PageID #: 463




                  8.         The avoidance of problems of conflict of laws factor is neutral
                             because there are no conflict of law issues. .............................................. 15

  V.   Conclusion ........................................................................................................................ 15




                                                                – ii –
Case 2:23-cv-00576-JRG-RSP Document 26 Filed 01/29/24 Page 4 of 22 PageID #: 464




                                               TABLE OF AUTHORITIES

                                                                                                                             Page(s)

  Cases

  In re Apple Inc.,
      2022 WL 1676400 (Fed. Cir. Apr. 2022) ..................................................................................9

  Athalonz LLC v. Under Armour, Inc.,
     2023 WL 8809293 (E.D. Tex. Dec. 20, 2023) (Gilstrap, J.)................................................9, 10

  BMG Rights Management (US) LLC et al. v. Altice USA, Inc. et al.,
    No. 2:22-cv-00471 (E.D. Tex.) ........................................................................................ passim

  Def. Distributed v. Bruck,
     30 F.4th 414 (5th Cir. 2022) ................................................................................................3, 15

  Godo Kaisha IP Bridge 1 v. Xilinx, Inc.,
     2017 WL 4076052 (E.D. Tex. Sept. 14, 2017) ........................................................................15

  Holloway v. City of Fort Worth,
     2024 WL 96666 (E.D. Tex. Jan. 9, 2024) ..................................................................................9

  Intelligent Automation Design, LLC v. Zimmer Biomet Holdings, Inc.,
      2016 WL 4424967 (E.D. Tex. July 21, 2016) ...........................................................................8

  In re Marquette Transp. Co. Gulf-Inland, LLC,
      2012 WL 2375981 (S.D. Tex. June 21, 2012) .........................................................................12

  Mears Techs., Inc. v. Finisar Corp.,
    2014 WL 1652603 (E.D. Tex. Apr. 24, 2014) (Gilstrap, J.) ....................................................13

  Mini Melts, Inc. v. Uniworld Corp. WLL,
     2008 WL 4441979 (E.D. Tex. Sept. 25, 2008) ..........................................................................7

  Net Navigation Sys., LLC v. Extreme Networks, Inc.,
     2014 WL 5465449 (E.D. Tex. Oct. 27, 2014) ...........................................................................8

  Network Prot. Scis., LLC v. Juniper Networks, Inc.,
     2012 WL 194382 (E.D. Tex. Jan. 23, 2012) ............................................................................11

  Opulent Treasures, Inc. v. Ya Ya Creations, Inc.,
     2022 WL 965394 (E.D. Tex. Mar. 30, 2022) ..........................................................................10

  In re Planned Parenthood Fed’n of Am., Inc.,
      52 F.4th 625 (5th Cir. 2022) ................................................................................................9, 13




                                                                – iii –
Case 2:23-cv-00576-JRG-RSP Document 26 Filed 01/29/24 Page 5 of 22 PageID #: 465




  In re TikTok, Inc.,
      85 F.4th 352 (5th Cir. 2023) ............................................................................................ passim

  In re Volkswagen AG,
      371 F.3d 201 (5th Cir. 2004) ...............................................................................................7, 14

  In re Volkswagen of Am., Inc.,
      545 F.3d 304 (5th Cir. 2008) ...............................................................................................7, 13

  Voxpath RS, LLC v. LG Elecs. U.S.A., Inc.,
     2012 WL 194370 (E.D. Tex. Jan. 23, 2012) (Gilstrap, J.) ...........................................11, 12, 13

  Word to Info, Inc. v. Facebook, Inc.,
    2015 WL 13870507 (N.D. Tex. July 23, 2015) .......................................................................14

  Statutes

  28 U.S.C. § 1331 ..............................................................................................................................7

  28 U.S.C. § 1338 ..............................................................................................................................7

  28 U.S.C. § 1391(c) .........................................................................................................................7

  28 U.S.C. § 1400(a) .........................................................................................................................7

  28 U.S.C. § 1404(a) .....................................................................................................................1, 6




                                                                     – iv –
Case 2:23-cv-00576-JRG-RSP Document 26 Filed 01/29/24 Page 6 of 22 PageID #: 466




          Defendants Altice USA, Inc. and CSC Holdings, LLC (collectively, “Altice”) respectfully

  move to transfer this action to the Eastern District of New York under 28 U.S.C. § 1404(a).

     I.      INTRODUCTION

          Plaintiffs filed this case in Texas because “[t]his Court recently sustained a complaint al-

  leging similar copyright infringement claims” in BMG Rights Management (US) LLC et al. v. Al-

  tice USA, Inc. et al., No. 2:22-cv-00471 (E.D. Tex.) (“BMG,” or the “BMG Case”). Compl. ¶ 13.

          But after this Court’s decision not to transfer the BMG Case, the Fifth Circuit decided In

  re TikTok, Inc., which made it even more clear that transfer is required when, as here, “virtually

  all of the events and witnesses regarding the case . . . are in the transferee forum.” 85 F.4th 352,

  366 (5th Cir. 2023). In light of the Fifth Circuit’s guidance, the result here must be different.

          Applying TikTok here, the Eastern District of New York (“EDNY”) is a clearly more con-

  venient venue than the Eastern District of Texas (“EDTX”) because the facts here are materially

  different and the discovery and pretrial development in the BMG Case have now shown that Texas

  has no relevant evidence and that all relevant evidence is derived from New York or locations

  more proximate to New York. Two New York-based music conglomerates (Warner and Sony),

  through their subsidiaries (35 of which are based in New York), have sued New York-based Altice

  based on corporate decisions made in New York. As explained below, the bulk of the evidence is

  in New York. Most of the parties’ current and former employees are in New York. Plaintiffs’

  notices purportedly identifying alleged activity of Altice’s users were sent to, and processed by,

  Altice in New York. Altice’s decisions about what to do in response to Plaintiffs’ accusations took

  place at its headquarters in New York. Altice’s data related to notices of alleged infringement and

  accused users are maintained in New York. And Plaintiffs’ corporate decisions and conduct took

  place in their respective New York headquarters. Put simply, the alleged events that gave rise to




                                                  –1–
Case 2:23-cv-00576-JRG-RSP Document 26 Filed 01/29/24 Page 7 of 22 PageID #: 467




  this case occurred in New York. These facts, coupled with the Fifth Circuit’s intervening and con-

  trolling guidance, demonstrate that this case should be transferred.

          First, the relative ease of access to sources of proof now clearly favors transfer. In BMG,

  this Court found this factor neutral because it concluded that electronic evidence was equally avail-

  able in Texas. But the Fifth Circuit has since clarified that this factor still favors transfer when, as

  here, “[t]here are no employees in the [transferor district] who” had access to the key data because

  it “is relatively easier to access” the data where “a majority of the [relevant] team is based”—here,

  in the EDNY. See id. at 359. Indeed, the BMG proceedings have confirmed that the relevant evi-

  dence was generated in New York and is therefore relatively easier to access from the EDNY.

          Second, the availability of compulsory process favors transfer because the EDNY has ab-

  solute subpoena power over several relevant non-party witnesses. In BMG, the Court found this

  factor neutral because of the prospect that there may be testimony from former Altice employees

  in Texas. But that has proven not to be the case. Discovery in BMG is almost over, and, to date,

  no testimony has yet to be obtained, or is scheduled to be obtained, from any witnesses in Texas.

  Further, since the decision not to transfer the case in BMG, several New York-based Altice em-

  ployees whose depositions have been noticed in BMG have left Altice, heightening the importance

  of the availability of compulsory process if their testimony is sought in this case.

          Third, the cost of witness attendance favors transfer. In BMG, the Court found this factor

  neutral after determining that a transfer would not materially reduce the inconvenience for non-

  party witnesses spread around the country. But TikTok held that the “analysis of this factor should

  [] end[] with [a] recognition that ‘the bulk of relevant witnesses [are]” in the transferee district.

  See id. at 362. That is the case here—the potentially relevant employees of both parties are pre-

  dominantly in New York. And when “most relevant witnesses” are in the transferee district, the




                                                   –2–
Case 2:23-cv-00576-JRG-RSP Document 26 Filed 01/29/24 Page 8 of 22 PageID #: 468




  existence of a few non-New York witnesses “cannot overcome the immense inconvenience that

  the majority of relevant witnesses would face if this case were to be tried in Texas.” Id. at 361–62.

            Finally, the localized interest in having this case decided at home favors transfer. In BMG,

  the Court found that this factor was neutral because it concluded that the alleged acts of infringe-

  ment by Altice users included conduct in EDTX. But TikTok clarified that “the place of the alleged

  wrong is one of the most important factors in venue determinations.” Id. at 364. The place of the

  alleged wrong here is not in the EDTX, where a subset of non-party users of Altice’s network are

  alleged to be located. Rather, it is in the EDNY, where Plaintiffs claim Altice allegedly knew of

  the infringing activity and materially contributed to it, or had the ability to supervise and control

  its users’ infringement from its headquarters and financially benefited. Compl. ¶¶ 3, 92, 103, 104.

  The inconsequential interest of Texas (or any other state in which Altice offers service) in this case

  cannot supplant the meaningful interest of New York, which is also Plaintiffs’ residence and the

  location of many witnesses. See Def. Distributed v. Bruck, 30 F.4th 414, 435 (5th Cir. 2022).

            For these reasons, Altice respectfully requests that this case be transferred to the EDNY.

      II.      BACKGROUND FACTS

               A.      Altice and the Location of Its Documents and Witnesses

            Defendant Altice USA is a Delaware corporation with its principal place of business in the

  EDNY at 1 Ct. Square W., Long Island City, NY 11101. Compl. ¶ 76; Declaration of Patricia

  Wheeler (“Wheeler Decl.”) ¶ 13. Defendant CSC Holdings is Altice USA’s wholly owned subsid-

  iary of Altice USA and a Delaware LLC with its principal place of business in the EDNY at 1111

  Stewart Ave., Bethpage, NY 11714. Compl. ¶ 77; Wheeler Decl. ¶ 4. 1


  1
   Altice has 174 subsidiaries, which serve different purposes in connection with its various prod-
  ucts, services, and partnerships. Three are incorporated in Texas but headquartered with Altice
  USA in the EDNY. Wheeler Decl. ¶ 15. Regardless, these subsidiaries would not be potential
  sources of relevant evidence and are, therefore, immaterial to the present analysis. Id.


                                                   –3–
Case 2:23-cv-00576-JRG-RSP Document 26 Filed 01/29/24 Page 9 of 22 PageID #: 469




         Altice provides broadband internet service to more than 4.5 million subscribers in 21 states.

  Wheeler Decl. ¶ 5. Most residential subscribers (more than 2.6 million) are in the New York area.

  Id. There are 1,695,829 total subscribers (residential and business) in New York—with 1,050,095

  in the EDNY. Id. As for subscribers in Texas, there are only 189,271 total Altice subscribers (res-

  idential and business) in this District—with only 3,439 in the Marshall Division. Id. ¶ 6.

         Altice’s business, technical, and legal operations are based in its headquarters and nearby

  facilities in the EDNY. Id. ¶ 7. The team that handles notices of alleged copyright infringement is

  in the EDNY. Id. Virtually all the potentially relevant employees for this case work in the EDNY,

  including key executive, management, and operations-level personnel in customer care, products,

  marketing, network engineering, data, finance, and legal. Id. ¶ 7-8. These individuals include Wil-

  liam Heberer, Michael Davis, Danny Holton, Christine Cummings, David Kniffin, Ahmed Fayed,

  Audrey Pinn, Beth Rosenfeld, Joe Foster, and George Ziegler, many of whom have been noticed

  for deposition in BMG. Id. ¶¶ 8, 12; Declaration of Sean R. Anderson (“Anderson Decl.”) ¶ 95.

         With these relevant teams in the EDNY, Altice’s relevant documents are also overwhelm-

  ingly created and handled in the EDNY. Wheeler Decl. ¶ 12. Since mid-2021, these documents

  have been stored with Google’s SQL and Big Query cloud services, which are accessible from

  Altice’s offices. Id. 2 Identifying and understanding the relevant documents and evidence is highly

  complex and will require an Altice witness to navigate. George Ziegler is Altice’s Data Warehouse

  manager and the subject matter expert on the accessibility of documents, data, and other infor-

  mation from the cloud or other sources. Id. He is based in the EDNY (id.), and has been deposed

  in the BMG Case.



  2
    The SQL servers are in South Carolina, while the Big Query servers are dynamic—previously,
  Altice’s relevant documents were stored in the EDNY and there are relevant documents still only
  stored on servers in the EDNY. Id.


                                                 –4–
Case 2:23-cv-00576-JRG-RSP Document 26 Filed 01/29/24 Page 10 of 22 PageID #: 470




         Altice has work facilities in 30 states. In Texas, Altice has facilities in Plano and Tyler.

  Wheeler Decl. ¶ 13. These are “back office” facilities that involve sales, customer care, and general

  network operations (id.), areas that are not primary sources of any evidence relevant to this case.

  There are no employees in these locations who are reasonably expected to be relevant witnesses. 3

             B.      Plaintiffs and the Location of Their Documents and Witnesses

         All 53 Plaintiffs are subsidiaries of either Warner Music Group Corp. (“WMG”) or Sony

  Group Corp. (“SGC”). Doc. 3; Anderson Decl. ¶¶ 2-4; Ex. 1. WMG’s headquarters is at 1633

  Broadway, New York, NY, 10019. Anderson Decl. ¶ 2. SGC’s United States headquarters is at 25

  Madison Avenue, New York, NY 100010. Id. ¶ 3. The Complaint states that 35 Plaintiffs have

  their principal place of business in New York, 14 in California, 1 in Florida, 1 in Tennessee, and

  1 in the United Kingdom. Compl. ¶¶ 16-73. Not a single Plaintiff is domiciled or has its principal

  place of business in Texas. Id. These entities are named because they purportedly hold the rights

  to the works asserted. Id. at Exs. A & B. And many of the Plaintiffs’ relevant employees likely are

  employed by operating companies in New York. For example, in other, similar, copyright litiga-

  tion against Internet Service Providers (“ISPs”), many of the individuals who the SGC entities

  have stated have relevant information reside in the New York area, including Dennis Kooker, Jeff

  Walker, Wade Leak, Neil Carfora, Michael Abitbol, and Audrey Ashby. Anderson Decl. ¶¶ 27,

  71, 72. And in other, similar, copyright litigation, many of the individuals who the WMG entities

  have stated have relevant information reside in the New York area, including Jon Glass and Matt

  Flott. See id. ¶ 71, 72. Further, based on their job descriptions, the following New York-based

  individuals who work for the WMG entities likely have relevant information: Julie Greenwald,




  3
   Altice also has retail stores throughout the country, including Texas, but nothing relevant takes
  place in these stores. Wheeler Decl. ¶ 14.


                                                 –5–
Case 2:23-cv-00576-JRG-RSP Document 26 Filed 01/29/24 Page 11 of 22 PageID #: 471




  Craig Kallman, Eric Levin, John Beddia, Paul Robinson, Trent Tappe, and Michelle Stallone. Id.

  ¶¶ 9-11, 14, 17, 19, 20, 22, 23, 32-37, 39.

               C.      The Locations of Third-Party Witnesses

            There are more former Altice witnesses now than there were when the transfer decision

  was made in the BMG Case. The BMG plaintiffs noticed the deposition of three Altice employees

  who have left the Company since the complaint was filed in that case. Anderson Decl. ¶¶ 95;

  Wheeler Decl.¶ 10. The BMG plaintiffs also subpoenaed five former Altice employees. Anderson

  Decl. ¶¶ 96. In total, there are four former relevant Altice employees who were noticed for depo-

  sition or subpoenaed for deposition in the EDNY’s absolute subpoena power. Id. ¶¶ 95-96. But no

  testimony has yet to be obtained or is scheduled to be obtained, from any witnesses in Texas.

            Plaintiffs’ agent that is responsible for the notices of alleged direct infringement is OpSec

  Online, LLC (“OpSec”)—a Delaware corporation with its principal place of business in Idaho.

  Compl. ¶¶ 98-99; Anderson Decl. ¶ 59 & Exs. 87, 88. Audible Magic Corp. (“Audible Magic”)

  was used to verify OpSec’s data. It is a Delaware corporation with its principal place of business

  in Los Gatos, CA. Anderson Decl. ¶ 61 & Exs. 90, 91. Plaintiffs’ industry representative, which

  manages OpSec and coordinates anti-piracy efforts, is the Recording Industry Association of

  America (“RIAA”). It is based in Washington, D.C. Id. ¶ 62 & Ex. 94. And the defunct Center for

  Copyright Information (CCI), which developed an inter-industry standard between ISPs and cop-

  yright owners for handling such notices, was also based in the D.C. area. Id. ¶ 64 & Ex. 97.

     III.      LEGAL STANDARD

            “For the convenience of parties and witnesses, in the interest of justice, a district court may

  transfer any civil action to any other district or division where it may have been brought.” 28

  U.S.C. § 1404(a). If the transferee district would be an appropriate venue, a court considers a list

  of eight private and public interest factors. In re Volkswagen AG, 371 F.3d 201, 203 (5th Cir. 2004)


                                                    –6–
Case 2:23-cv-00576-JRG-RSP Document 26 Filed 01/29/24 Page 12 of 22 PageID #: 472




  (“Volkswagen I”). A plaintiff’s choice of venue is not a factor. The deference afforded to the plain-

  tiff’s choice is reflected in a defendant’s burden to demonstrate that the transferee venue is “clearly

  more convenient” than the plaintiffs’ chosen venue. In re Volkswagen of Am., Inc., 545 F.3d 304,

  315 (5th Cir. 2008) (“Volkswagen II”). Yet this “deference . . . is mitigated by [a plaintiff’s] choice

  to sue away from home and in a district that is unrelated to [the] lawsuit.” Mini Melts, Inc. v. Uni-

  world Corp. WLL, 2008 WL 4441979, at *5 (E.D. Tex. Sept. 25, 2008).

     IV.      ARGUMENT

              A.      This Case Could Have Been Brought in the EDNY.

           The EDNY is a proper transferee district, and this case could have been brought in the

  EDNY. The EDNY has subject matter jurisdiction because the case arises under federal law.

  Compl. ¶ 8; 28 U.S.C. §§ 1331, 1338. Altice is headquartered in the EDNY, so there would be

  personal jurisdiction and proper venue. 28 U.S.C. §§ 1400(a), 1391(c).

              B.      Both the Private and Public Interest Factors Heavily Favor Transfer to
                      the EDNY.

           As demonstrated below, the EDNY is clearly more convenient than the EDTX, when con-

  sidering the eight private and public interest factors.

                      1.     The relative ease of access to sources of proof weighs in favor of
                             transferring this case because the bulk of evidence will come from
                             the EDNY with none in the EDTX.

           “The first factor focuses on the location of ‘documents and physical evidence relating to

  the [case].’” TikTok, 85 F.4th at 358 (citation omitted).

           This factor weighs in favor of transfer because the bulk of the evidence is in the EDNY. In

  “infringement cases, the bulk of the relevant evidence usually comes from the accused infringer,

  so the place where the defendant’s documents are kept weighs in favor of transfer to that location.”

  Intelligent Automation Design, LLC v. Zimmer Biomet Holdings, Inc., 2016 WL 4424967, at *2



                                                  –7–
Case 2:23-cv-00576-JRG-RSP Document 26 Filed 01/29/24 Page 13 of 22 PageID #: 473




  (E.D. Tex. July 21, 2016) (citing In re Genentech, Inc., 566 F.3d 1338, 1345 (Fed. Cir. 2009)).

  “[T]he location of [a party]’s documents tends to be the more convenient venue” because “[i]t is

  presumed that the bulk of the discovery material related to a corporate party is located in that

  party’s corporate headquarters.” Net Navigation Sys., LLC v. Extreme Networks, Inc., 2014 WL

  5465449, at *3 (E.D. Tex. Oct. 27, 2014) (citing In re Genentech, Inc., 566 F.3d at 1345, and In

  re Acer Am. Corp., 626 F3d 122, 1256 (Fed. Cir. 2010)). That is the case here for both parties.

         As explained, the relevant Altice custodians are based in the EDNY with other EDNY-

  based employees who are responsible for the bulk of relevant documents, data, and information.

  See Wheeler Decl. ¶¶ 7-8, 12. This information includes (1) internal documents regarding Altice’s

  relevant policies and procedures, emails, and other information; (2) source code and related tech-

  nical information; (3) financials; (4) the notices of alleged copyright infringement; (5) Altice’s

  actions taken with respect to those notices, including regarding subscriber account status; (6) data

  generated by the dedicated team that handles notices and communicates with users; and (7) sub-

  scriber account information, including the data necessary to determine which subscriber was linked

  to which IP address at any point in time. See id. ¶¶ 7, 12. These are the types of documents that

  Plaintiffs point to in the Complaint. See Compl. ¶¶ 3, 92, 103, 104. These are also the types of

  documents Plaintiffs and related plaintiffs have relied on in other cases. See Anderson Decl. ¶¶ 65-

  67. And, importantly, all these documents were generated in, and are now available in, the EDNY

  where they are managed by Mr. Ziegler or other EDNY teams. See Wheeler Decl. ¶¶ 12.

         That these documents are largely electronic does not neutralize this factor. Because the

  “documents relating to the . . . operation of the” alleged wrongdoing were “generated in” the

  EDNY, this is a fact that “favors transfer even if [the alleged infringer] in theory could offer access

  to that information” in the EDTX. See In re Apple Inc., 2022 WL 1676400, at *1 (Fed. Cir. Apr.




                                                  –8–
Case 2:23-cv-00576-JRG-RSP Document 26 Filed 01/29/24 Page 14 of 22 PageID #: 474




  2022). Here, the key data for this case were generated by a few, select individuals who are all in

  the EDNY. See Wheeler Decl. ¶¶ 8-9. In TikTok, the Fifth Circuit was clear that when, as here,

  “only a select few individuals have access to the key non-witness evidence in th[e] case,” that fact

  weighs in favor of transferring the case to where those employees are located. See 85 F.4th at 359

  n.6. Importantly, in TikTok, “[t]here [were] no employees in the Western District of Texas who”

  had access to the key data outlined above. Id. at 359. And while it “is possible” to bring electronic

  evidence to Texas, the Fifth Circuit has clarified that is not what matters because “the question

  under the first factor is ‘relative ease of access, not absolute ease of access.’” Id. (citation omitted).

          Thus, this factor favors transfer because it “is relatively easier to access . . . the [relevant

  data] in the” EDNY—where “a majority of the [relevant] team is based”—than in the EDTX,

  “where the [relevant data] can be accessed only by bringing far-flung individuals into the district.”

  Id. Indeed, other courts have recently recognized that “under current precedent of Planned

  Parenthood and TikTok,” having electronic documents in the transferee district weighs “slightly

  in favor of transfer” even if the documents “are equally accessible in either forum.” Holloway v.

  City of Fort Worth, 2024 WL 96666, at *5 (E.D. Tex. Jan. 9, 2024). Since TikTok, this Court has

  also recognized that “the greater amount of evidence in” the transferee district “tips the balance

  slightly in favor of transfer” even with the presence of a single store in this District, because of the

  relative access to sources of proof. See Athalonz LLC v. Under Armour, Inc., 2023 WL 8809293,

  at *3 (E.D. Tex. Dec. 20, 2023) (Gilstrap, J.). This factor supports transfer.

                      2.      The availability of compulsory process weighs in favor of transfer-
                              ring this case because the EDNY has subpoena power over non-
                              party witnesses that the EDTX does not.

          “The second factor focuses on ‘the availability of compulsory process to secure the attend-

  ance of witnesses.’” TikTok, 85 F.4th at 360 (citation omitted).




                                                    –9–
Case 2:23-cv-00576-JRG-RSP Document 26 Filed 01/29/24 Page 15 of 22 PageID #: 475




         This factor supports transfer because the EDNY has absolute subpoena power over several

  potentially relevant individuals. To date, the BMG plaintiffs have sought the deposition of four

  former Altice employees in the EDNY’s absolute subpoena power: Keith Agabob, Marian O’Ha-

  gan, Nodir Nazarov, and Robert Egan. Anderson Decl. ¶¶ 95-96. Three of these employees were

  employed by Altice when the motion to transfer was denied in BMG. Wheeler Decl. ¶ 10. But now

  that they are former employees, for purposes of this analysis, they are presumed unwilling to tes-

  tify. Opulent Treasures, Inc. v. Ya Ya Creations, Inc., 2022 WL 965394, at *3 (E.D. Tex. Mar. 30,

  2022) (“[W]hen there is no indication that a non-party witness is willing, the witness is presumed

  to be unwilling and considered under the compulsory process factor.”) (citation omitted). This is

  because it is “highly unlikely that” a witness would “willingly offer testimony that could impugn

  [a] business partner”—or, here, a former employer. See Athalonz, 2023 WL 8809293, at *7.

         While this Court concluded in BMG that relevant testimony may come from non-party

  witnesses in Texas, based on arguments proffered by the BMG plaintiffs, that has not come to

  fruition. Indeed, to date (with only two months left in fact discovery), no testimony has yet to be

  obtained, or is scheduled to be obtained, from any witnesses in Texas. Put simply, there is no one

  in Texas with relevant information about the issues in this case, which “necessarily tips towards

  transfer.” Athalonz, 2023 WL 8809293, at *8 (citation omitted).

         Moreover, several of Plaintiffs’ former employees are likely in the absolute subpoena

  power of EDNY, and would thus presumed unwilling to voluntarily testify. It is “reasonable to

  assume” that Plaintiffs’ former employees “reside within” and are subject to compulsory process

  in the EDNY because that was where they were previously listed to have resided in other cases.

  See Network Prot. Scis., LLC v. Juniper Networks, Inc., 2012 WL 194382, at *5 (E.D. Tex. Jan.

  23, 2012). This further supports transfer to the EDNY.




                                                – 10 –
Case 2:23-cv-00576-JRG-RSP Document 26 Filed 01/29/24 Page 16 of 22 PageID #: 476




                     3.      The cost of attendance for willing witnesses weighs in favor of trans-
                             ferring this case because the bulk of witnesses are in the EDNY and
                             more than 100 miles from the EDTX.

         “The third factor focuses on ‘the cost of attendance for willing witnesses.’” TikTok, 85

  F.4th at 361 (citation omitted). This Court must use “a ‘100-mile threshold’ in assessing this fac-

  tor.” Id. The Fifth Circuit has explained that it “‘is more convenient for witnesses to testify at

  home[,]’ and ‘additional distance means additional travel time . . . meal and lodging expenses’ and

  time ‘witnesses must be away from their regular employment.’” Id. Thus, when “the ‘bulk of rel-

  evant witnesses’”—party or non-party—are in the transferee district, “it is indisputable” that the

  transferee district “is a clearly more convenient venue for most relevant witnesses in the case” and

  concluding otherwise would be “a clear abuse of discretion.” Id. at 361–62.

         As in TikTok, this Court’s “analysis of this factor should [] end[] with its recognition that

  ‘the bulk of relevant witnesses [are]” in the transferee district. See id. at 362. Indeed, “it is ‘clear

  that the combination of multiple parties being headquartered in or near the transferee venue . . . is

  an important consideration.” Voxpath RS, LLC v. LG Elecs. U.S.A., Inc., 2012 WL 194370, at *4

  (E.D. Tex. Jan. 23, 2012) (Gilstrap, J.). And, as outlined above, the overwhelming majority of the

  parties are headquartered in New York, where most of the witnesses are based. Anderson Decl. ¶¶

  6-58. Thus, because most potential witnesses are in the EDNY, it “is a clearly more convenient

  venue for most relevant witnesses in this case.” TikTok, 85 F.4th at 361–62. And “it is reasonable

  to conclude that the numerous party witnesses of a majority of the [parties] will avoid material

  inconvenience if this case is transferred to the” EDNY. See Voxpath, 2012 WL 194370, at *3.

         Transfer would also make attending this litigation far more convenient for any of Altice’s

  and Plaintiffs’ former employees who elect to testify. “The convenience of non-party witnesses . .

  . is the more important factor and is accorded greater weight in a transfer of venue analysis.” Id.

  (citation omitted). And while some nonparties are dispersed around the country, more nonparties


                                                  – 11 –
Case 2:23-cv-00576-JRG-RSP Document 26 Filed 01/29/24 Page 17 of 22 PageID #: 477




  are in New York. Anderson Decl. ¶¶ 27, 59-72. Thus, “it would be more convenient for party and

  nonparty witnesses to attend trial in the” EDNY because “there are more witnesses”—party and

  nonparty—“located in the transferee district who will be inconvenienced if the case is not trans-

  ferred.” Voxpath, 2012 WL 194370, at *5 (bold emphasis added). And for the third parties like

  OpSec, Audible Magic, the RIAA, and CCI, which are outside New York, it will be more conven-

  ient to travel to the EDNY than to the EDTX when accounting for travel time, logistics, and flight

  availability. Anderson Decl. ¶¶ 86-91. At minimum, they “will experience no more inconvenience

  by traveling to [the New York area] than Marshall.” Voxpath, 2012 WL 194370, at *5.

         As in TikTok, the presence of a few non-New York witnesses—none of whom are in the

  EDTX—“cannot overcome the immense inconvenience that the majority of relevant witnesses

  would face if this case were to be tried in Texas.” 85 F.4th at 361–62 (citation omitted).

                     4.      The lack of practical problems weighs in favor of transferring this
                             case because this case just started.

         “The fourth factor considers ‘all other practical problems . . . .’” TikTok, 85 F.4th at 362.

  This factor “slightly favors transfer” because “[t]his case is in an early stage,” “[n]o hearings have

  been held and the parties have exchanged no formal discovery.” In re Marquette Transp. Co. Gulf-

  Inland, LLC, 2012 WL 2375981, at *2 (S.D. Tex. June 21, 2012).

                     5.      The administrative difficulties from court congestion factor is neu-
                             tral because of the docket efficiency in the EDNY and EDTX.

         “The fifth factor considers ‘the administrative difficulties flowing from court congestion.”

  TikTok, 85 F.4th at 363 (citation omitted). “The focus is on ‘docket efficiency.’” Id. (citation omit-

  ted). This factor is neutral. While the EDTX’s average time to trial is less than the EDNY’s (EDTX

  at 19 months and EDNY at 62.1 months), the average time from filing to disposition is less for the

  EDNY (EDNY at 5.1 months and EDTX at 8.4 months). See U.S. District Courts, Combined Civil

  and Criminal Federal Court Management Statistics (Sept. 30, 2023). Moreover, looking at


                                                 – 12 –
Case 2:23-cv-00576-JRG-RSP Document 26 Filed 01/29/24 Page 18 of 22 PageID #: 478




  “Weighted Filings,” the EDNY is more efficient than the EDTX (EDNY at 594 cases and EDTX

  at 660 cases). See id. Thus, this is not a case where “docket efficiency can be reliably estimated.”

  In re Planned Parenthood Fed’n of Am., Inc., 52 F.4th 625, 631 (5th Cir. 2022). Because the com-

  parison between the docket efficiency between the EDTX and EDNY is “speculative,” this factor

  “should be found to be neutral in this venue analysis.” Mears Techs., Inc. v. Finisar Corp., 2014

  WL 1652603, at *4 (E.D. Tex. Apr. 24, 2014) (Gilstrap, J.).

                     6.      The local interest in having localized interests decided at home
                             weighs in favor of transferring this case because the place of the
                             alleged wrong is in the EDNY, not the EDTX.

         “The sixth factor considers ‘the local interest in having localized interests decided at

  home.’” TikTok, 85 F.4th at 363 (citation omitted). “Indeed, the place of the alleged wrong is one

  of the most important factors in venue determinations.” TikTok, 85 F.4th at 364 (citation omitted).

         The place of the alleged wrong here is not in Texas (let alone the EDTX), where some of

  Altice’s users who are the subject of Plaintiffs’ notices are alleged to be located. The place of the

  alleged wrong is in New York—where Plaintiffs sent their notices, where Altice received those

  notices, where it developed business policies relating to handling those notices, and where it pur-

  portedly benefitted from those decision. Critically, it is also the place where Plaintiffs purportedly

  experienced their alleged harm. See Compl. ¶¶ 3, 92, 103, 104, 113, 125. The notion that the EDTX

  has a localized “interest in this [copyright infringement] case because” Plaintiffs allege sporadic

  alleged instances of infringement by a subset of users of Altice’s network “in Marshall . . . stretches

  logic in a manner that eviscerates the public interest that this factor attempts to capture.”

  Volkswagen II, 545 F.3d at 318. This is because “[i]nterests that could apply virtually to any judi-

  cial district or division in the United States, . . . are disregarded . . . .” Voxpath, 2012 WL 194370,

  at *6 (quotes omitted).




                                                  – 13 –
Case 2:23-cv-00576-JRG-RSP Document 26 Filed 01/29/24 Page 19 of 22 PageID #: 479




         Plaintiffs’ focus on Altice’s provision of internet in Texas does not establish a localized

  interest. They do not allege that they directed their notices only at Texas. Nor could they; their

  allegations emphasize that “BitTorrent has been and continues to be used widely as a vehicle to

  infringe content online,” and that Altice “markets and sells high-speed Internet service to consum-

  ers nationwide.” Compl. ¶¶ 3, 92. Just because some Texas users of Altice’s network are alleged

  to have infringed, that “does not establish an actual local interest in this District because these

  allegedly infringing [acts] almost certainly . . . [occur] from [Defendants]’ users across the nation.”

  Word to Info, Inc. v. Facebook, Inc., 2015 WL 13870507, at *5 (N.D. Tex. July 23, 2015). Indeed,

  aside from pointing out alleged infringement in Texas, the Complaint does “absolutely nothing . .

  . to indicate that the people of Marshall, or even the Eastern District of Texas, have any meaningful

  connection or relationship with the circumstances of these claims.” Volkswagen I, 371 F.3d at 206.

         In stark contrast, the EDNY has a meaningful connection and direct relationship with the

  underlying circumstances of these claims, which is paramount given that the focus for this factor

  is on “the significant connections between a particular venue and the events that gave rise to a

  suit.” TikTok, 85 F.4th at 364 (citation omitted). As discussed, the Complaint makes it clear that

  all the events that gave rise to the suit revolve around Altice’s corporate actions. See Compl. ¶¶ 3,

  92, 103, 104, 113, 125. These alleged acts took place in the EDNY. Wheeler Decl. ¶ 7.

         In addition to being the location of Altice’s decisionmakers, where most of Altice’s em-

  ployees are based, and where Plaintiffs are based and experienced their purported harm, the EDNY

  clearly has a localized interest in the resolution of a major dispute between one of the nation’s

  largest ISPs and two of the largest music companies in the world—all of which are based in New

  York with thousands of employees in New York. New York is the major locus for the music in-

  dustry. Indeed, the U.S. Bureau of Labor Statistics has reported that New York leads the nation




                                                  – 14 –
Case 2:23-cv-00576-JRG-RSP Document 26 Filed 01/29/24 Page 20 of 22 PageID #: 480




  with the highest published employment for Musicians and Singers. Anderson Decl. ¶ 92. The New

  York City Mayor’s Office has reported that “New York City is home to one of the world’s largest

  – if not the largest – and most influential music ecosystems, supporting nearly 60,000 jobs, ac-

  counting for roughly $5 billion in wages, and generating a total economic output of $21 billion[.]”

  Id. ¶ 93. The State of New York and these New Yorkers “have a significant interest” in the reso-

  lution of this case, as evidenced by the fact that New York is “the Plaintiff[s’] residence” and the

  location of many witnesses for both parties—and these are “[i]mportant considerations” that can-

  not be discounted. See Def. Distributed v. Bruck, 30 F.4th 414, 435 (5th Cir. 2022).

                      7.      The familiarity of the forum factor is neutral because both the
                              EDNY and EDTX are equally capable of resolving this suit.

           “The seventh factor considers the current district’s ‘familiarity with the law that will gov-

  ern the case.’” TikTok, 85 F.4th at 365 (citation omitted). “This factor does not weigh in favor of

  transfer when both districts are ‘equally capable of applying the relevant law.’” Ibid. There is

  nothing arcane about copyright law, as all federal courts are equally equipped to handle such cases.

  See, e.g., Godo Kaisha IP Bridge 1 v. Xilinx, Inc., 2017 WL 4076052, at *5 (E.D. Tex. Sept. 14,

  2017). It would be error for a court to “assum[e] that it was more capable at applying [copyright]

  law than are the judges of [other Districts]” without there being any “exceptionally arcane aspects

  of [copyright] law governing [the Plaintiffs’] . . . claims.” TikTok, 85 F.4th at 366.

                      8.      The avoidance of problems of conflict of laws factor is neutral be-
                              cause there are no conflict of law issues.

           “The eighth factor focuses on “the avoidance of unnecessary problems of conflict of laws

  [or in] the application of foreign law.” TikTok, 85 F.4th at 366. This factor is neutral.

      V.      CONCLUSION

           For these reasons, Altice respectfully requests that the case be transferred to the EDNY for

  the convenience of the parties and witnesses and in the interest of justice.


                                                   – 15 –
Case 2:23-cv-00576-JRG-RSP Document 26 Filed 01/29/24 Page 21 of 22 PageID #: 481




         Dated: January 29, 2024                     Respectfully submitted,


                                                  By: /s/ Michael S. Elkin
   Wesley Hill                                       Michael S. Elkin*
   State Bar No.: 24032294                           Krishnan Padmanabhan*
   WARD, SMITH & HILL, PLLC                          Sean R. Anderson*
   1507 Bill Owens Parkway                           WINSTON & STRAWN LLP
   Longview, TX 75604                                200 Park Avenue
   (903) 757-6400                                    New York, NY 10166
   wh@wsfirm.com                                     (212) 294-6700
                                                     melkin@winston.com
   Thomas M. Melsheimer
   State Bar No.: 13922550                           Jennifer A. Golinveaux*
   WINSTON & STRAWN LLP                              WINSTON & STRAWN LLP
   2121 N. Pearl Street, Suite 900                   101 California Street, 35th Floor
   Dallas, TX 75201                                  San Francisco, CA 9411
   (314) 453-6500                                    (415) 591-1506
   tmelsheimer@winston.com                           jgolinveaux@winston.com

   Sean H. Suber*                                    Diana Leiden*
   WINSTON & STRAWN LLP                              WINSTON & STRAWN LLP
   35 W. Wacker Dr.                                  333 South Grand Avenue, 38th Floor
   Chicago, IL 60601                                 Los Angeles, CA 90071
   (312) 558-5600                                    (213) 615-1700
   ssuber@winston.com                                dhleiden@winston.com

   Clement S. Roberts                                Christopher J. Cariello*
   ORRICK HERRINGTON & SUTCLIFFE LLP                 ORRICK HERRINGTON & SUTCLIFFE LLP
   405 Howard Street                                 51 West 52nd Street
   San Francisco, CA 94015                           New York, NY 10019
   (415) 773-5700                                    (212) 506-5000
   croberts@orrick.com                               ccariello@orrick.com

                                                     Mark S. Puzella*
                                                     ORRICK HERRINGTON & SUTCLIFFE LLP
                                                     222 Berkely Street, Suite 2000
                                                     Boston, MA 02116
                                                     (617) 880-1801
                                                     mpuzella@orrick.com

                 Attorneys for Defendants Altice USA, Inc. and CSC Holdings, LLC

   *Pro Hac Vice
Case 2:23-cv-00576-JRG-RSP Document 26 Filed 01/29/24 Page 22 of 22 PageID #: 482




                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that all counsel of record who are deemed to have con-

  sented to electronic service are being served with a copy of this document via the Court’s CM/ECF

  system per Local Rule CV-5(a)(3) on January 29, 2024.



                                               /s/ Michael S. Elkin




                               CERTIFICATE OF CONFERENCE

         The undersigned hereby certifies that counsel for Defendants has complied with the meet

  and confer requirement in Local Rule CV-7(h). This motion is opposed. The personal conference

  required by Local Rule CV-7(h) was conducted on January 23, 2024, by videoconference between

  Michael S. Elkin and Jeffrey M. Gould. No agreement could be reached, and the discussions have

  conclusively ended in an impasse, leaving an open issue for the court to resolve.



                                               /s/ Michael S. Elkin
